Case 1:20-cv-01228-GBW-JLH Document 187 Filed 12/05/22 Page 1 of 3 PageID #: 7153




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   WSOU INVESTMENTS, LLC D/B/A                          )
   BRAZOS LICENSING AND                                 )
   DEVELOPMENT,                                         ) C.A. No. 1:20-cv-01228-GBW-JLH
                                                        ) (Consolidated)
                            Plaintiff,                  )
                                                        )
                  v.                                    )
                                                        )
   XILINX, INC.,                                        )
                                                        )
                            Defendant.



                       PLAINITFF’S RULE 7.1 DISCLOSURE STATEMENT

         Pursuant to Fed. R. Civ. P. 7.1, Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing

  and Development states that it does not have a parent corporation and that there is no publicly held

  corporation owning ten percent or more of its stock.



   Dated: December 5, 2022                             DEVLIN LAW FIRM LLC

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Case 1:20-cv-01228-GBW-JLH Document 187 Filed 12/05/22 Page 2 of 3 PageID #: 7154




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Case 1:20-cv-01228-GBW-JLH Document 187 Filed 12/05/22 Page 3 of 3 PageID #: 7155




                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served or

  delivered electronically to all counsel of record on this 5th day of December, 2022, via the Court’s

  CM/ECF system.

                                                         /s/ Peter A. Mazur
                                                         Peter Akawie Mazur (No. 6732)




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